Case:17-03283-LTS Doc#:24433-1 Filed:06/02/23 Entered:06/06/23 17:06:18   Desc:
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Case:17-03283-LTS Doc#:24433-1 Filed:06/02/23 Entered:06/06/23 17:06:18   Desc:
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Case:17-03283-LTS Doc#:24433-1 Filed:06/02/23 Entered:06/06/23 17:06:18   Desc:
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Case:17-03283-LTS Doc#:24433-1 Filed:06/02/23 Entered:06/06/23 17:06:18   Desc:
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Case:17-03283-LTS Doc#:24433-1 Filed:06/02/23 Entered:06/06/23 17:06:18   Desc:
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Case:17-03283-LTS Doc#:24433-1 Filed:06/02/23 Entered:06/06/23 17:06:18   Desc:
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Case:17-03283-LTS Doc#:24433-1 Filed:06/02/23 Entered:06/06/23 17:06:18   Desc:
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Case:17-03283-LTS Doc#:24433-1 Filed:06/02/23 Entered:06/06/23 17:06:18   Desc:
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Case:17-03283-LTS Doc#:24433-1 Filed:06/02/23 Entered:06/06/23 17:06:18   Desc:
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Case:17-03283-LTS Doc#:24433-1 Filed:06/02/23 Entered:06/06/23 17:06:18   Desc:
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Case:17-03283-LTS Doc#:24433-1 Filed:06/02/23 Entered:06/06/23 17:06:18   Desc:
                           Exhibit Page 17 of 17
